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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

TRAVIS R. REVES                                                                    PLAINTIFF

v.                                  Case No. 4:19-cv-04108

KEVIN CROSS and
SHERIFF ROBERT GENTRY                                                           DEFENDANTS

                                            ORDER

       Before the Court is the Report and Recommendation filed May 7, 2021, by the Honorable

Barry A. Bryant, United States Magistrate Judge for the Western District of Arkansas. (ECF No.

71). Judge Bryant recommends that Defendants’ Motion for Summary Judgment (ECF No. 63) be

granted and all claims be dismissed with prejudice.

       Plaintiff has not filed objections to the Report and Recommendation, and the time to do so

has passed. See 28 U.S.C. § 636(b)(1). Being well and sufficiently advised and finding no clear

error on the face of the record, the Court adopts the Report and Recommendation (ECF No. 71) in

toto. Defendants’ Motion for Summary Judgment is GRANTED and all claims against Defendants

are DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED, this 7th day of June, 2021.

                                                           /s/ Susan O. Hickey
                                                           Susan O. Hickey
                                                           Chief United States District Judge
